__ Case 5:89-cv-00406-JM Document 105 Filed 03/20/02 Pagelof4  _-

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IN THE UNITED SEATES DISTRICT: COURT
EASTERN DISTRICT OF ARKANSAS

 

 

PINE BLUFF DIVISION
ARES VY Merona ac
EUGENE HUNT, Individually and gy MOCORMACK, CLI
In Behalf of All Other Similarly DEP fi
Situated Individuals PLAINTIFF
VS. NO. 5:89-CV-406HW
STATE OF ARKANSAS, et al. DEFENDANTS

JOINT MOTION TO AMEND SUB-DISTRICT MAPS

Comes now the parties, and for their Joint Motion to Amend Sub-District Maps,
states:

1. On September 24, 1992, an Amended Consent Decree was approved by
the Court which established sub-districts within five Arkansas Judicial Districts. The
boundaries for those sub-districts were drawn by using the 1990 census information.

2. The United States Census Bureau did not use the identical geographic
boundaries in publishing the 2000 census report, and the Secretary of State has been
unable to exactly replicate the earlier maps that were based upon the 1990 census report.

3. The boundary changes are minimal and largely based upon the census
geography and the new maps being submitted for the Court’s approval are more detailed
than those produced in 1992 when the Amended Consent Decree was entered.

4. Changes in demographic population percentages in the sub-districts, based
upon data provided by the State, are negligible and thus require no additional boundary
modifications.

5. The boundary changes will clarify the sub-district lines for the public and

allow the Secretary of State to place the maps on their website and thereby increase the

 
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public’s access to this information.

6. The decree provides that changes in the sub-districts may be made only by
order of the Court. Amended Consent Decree, H, A.

7. The parties have consented to the submission of this joint motion to the
Court based upon each parties present knowledge and respective analysis of data and
information provided by the State.

8. The Court’s approval of these maps, attached as exhibit “A,” will further
the original purpose of the Amended Consent Decree which sought to create
opportunities for African Americans to elect Circuit judges in a manner consistent with
Section 2 of the Voting Rights Act, as amended.

WHEREFORE, the parties request that their Joint Motion to Amend Sub-District

Maps be approved, and for all other proper relief.

 

Respectfully submitted,
wT he Bed et. al.

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UNITED STATE DISTRICT COURT
EASTERN DISTRICT OF ARKANSAS

Exhibits Attached
to Original
Document in

Courts ‘s Case File
